                                                                                                       Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 1 of 15 PageID #: 1934




                                  IN THE CIRCUIT COURT
                                    STATE OF MISSOURI
                             TWENTY-SECOND JUDICIAL DISTRICT
                                    (CITY OF ST. LOUIS)

DAVID BUTLER and KATHY BUTLER,                         )
his wife,                                              )
                                                       )          Cause No. 2222-CC00226
                                                       )
               Plaintiffs,                             )
                                                       )
-vs.-                                                  )
                                                       )
A.W. CHESTERTON COMPANY, et al.,                       )
                                                       )
               Defendants.                             )

          ANSWER AND AFFIRMATIVE AND OTHER DEFENSES TO
 PLAINTIFFS’ FIRST AMENDED PETITION ON BEHALF OF DEERE & COMPANY

        Deere & Company, as its Answer and Affirmative and Other Defenses to Plaintiffs’ First

Amended Petition (“Petition”) states as follows:

                JURISDICTION, VENUE, AND GENERAL ALLEGATIONS

        1-2.   Deere & Company is without sufficient knowledge or information to form a belief

as to the truth of the allegations set forth in Paragraphs 1-2.

        3-4.   To the extent that Paragraphs 3-4, and all subparagraphs therein, contains

allegations against entities other than Deere & Company, Deere & Company is without sufficient

knowledge or information to form a belief as to the truth of those allegations. Deere & Company

denies all allegations in Paragraphs 3-4, and all subparagraphs therein, as they relate to Deere &

Company.

        5.     To the extent that Paragraph 5 contains allegations against entities other than Deere

& Company, Deere & Company is without sufficient knowledge or information to form a belief

as to the truth of the allegations set forth against those entities. To the extent that Paragraph 5

contains allegations against Deere & Company, Deere & Company admits only that it has, in the
                                             Page 1 of 15
                                            2222-CC00226
                                                                                                      Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 2 of 15 PageID #: 1935




past, sold equipment that contained certain asbestos-containing component parts that were

manufactured by others, and that it sold some asbestos-containing component parts, again

manufactured by others, as service parts. Deere & Company denies each and every remaining

allegation against it.

        6-7. Whether Jurisdiction is proper is a conclusion of law and therefore no response is

required. To the extent that a response is deemed to be required, the allegations are denied. Deere

& Company is without sufficient knowledge or information to form a belief as to the truth of the

remaining allegations set forth in Paragraphs 6-7.

        8-10. Deere & Company is without sufficient knowledge or information to form a belief

as to the truth of the allegations set forth in Paragraph 8-10.

        11.     To the extent that Paragraph 11 contains allegations against entities other than

Deere & Company, Deere & Company is without sufficient knowledge or information to form a

belief as to the truth of those allegations. Deere & Company denies all allegations in Paragraph 11

as they relate to Deere & Company.

        12.     Whether Venue is proper is a conclusion of law and therefore no response is

required. To the extent that a response is deemed to be required, the allegations are denied. Deere

& Company is without sufficient knowledge or information to form a belief as to the truth of the

remaining allegations set forth in Paragraph 12.

        13-16. To the extent that Paragraphs 13-16 contain allegations against entities other than

Deere & Company, Deere & Company is without sufficient knowledge or information to form a

belief as to the truth of those allegations. Deere & Company denies all allegations in Paragraphs

13-16 as they relate to Deere & Company.




                                             Page 2 of 15
                                            2222-CC00226
                                                                                                       Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 3 of 15 PageID #: 1936




       17. Deere & Company denies that Petitioner’s disease was wrongfully caused. Deere &

Company is without sufficient knowledge or information to form a belief as to the truth of

remaining allegations in Paragraph 17.

       18.     Deere & Company denies that Plaintiffs’ injuries were caused by any alleged action

or inaction of Deere & Company. Deere & Company is without sufficient knowledge or

information to form a belief as to the remaining allegations set forth in Paragraph 18.

       WHEREFORE, Deere & Company denies that Plaintiffs are entitled to the relief

requested, or any relief at all, and further requests that Plaintiffs’ claims be dismissed with

prejudice and any other relief this Honorable Court deems just.

                                             COUNT I

       1.      Deere & Company restates its answers to Paragraphs 1-18 of the General

Allegations of this Petition as its answer to Paragraph 1 of Count I of this Petition.

       2-3.    To the extent that Paragraphs 2-3 contain allegations against entities other than

Deere & Company, Deere & Company is without sufficient knowledge to form a belief as to the

truth of those allegations. To the extent that Paragraphs 2-3 contain allegations against Deere &

Company, Deere & Company denies all allegations set forth in Paragraphs 2-3 as they relate to

Deere & Company.

       4.      To the extent that the allegations of Paragraph 4 are directed to entities other than

Deere & Company, Deere is without sufficient information to admit or deny the allegations

contained in Paragraph 4. To the extent that the allegations in Paragraph 4 are directed to Deere &

Company, Deere & admits only that, for some equipment sold by Deere & Company, it provided

catalogues, service manuals and parts lists that contained information related to the service,

maintenance and repair of the equipment and that it intended users to read and be guided by those

publications. Deere denies all remaining allegation contained in Paragraph 4.
                                            Page 3 of 15
                                           2222-CC00226
                                                                                                      Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 4 of 15 PageID #: 1937




        5-6.    To the extent that Paragraphs 5-6 contain allegations against Deere & Company,

Deere & Company denies all allegations as they relate to Deere & Company, and further states

that any duty owed to Plaintiffs is a conclusion of law and therefore no response is required. To

the extent that Paragraphs 5-6 contain allegations against entities other than Deere & Company,

Deere & Company is without sufficient knowledge and information to form a belief as to the truth

of those allegations set forth against those entities.

        7.      Deere & Company denies that Petitioner’s disease was caused by any alleged action

or inaction of Deere & Company, and further states that any characterization of Deere &

Company’s alleged conduct as negligent is a conclusion of law and therefore no response is

required. To the extent that Paragraph 7 contains allegations against entities other than Deere &

Company, Deere & Company is without sufficient knowledge or information to form a belief as

to the truth of the allegations set forth against those entities.

        WHEREFORE, Deere & Company denies that Plaintiffs are entitled to the relief

requested, or any relief at all, and further requests that Plaintiffs’ claims be dismissed with

prejudice and any other relief this Honorable Court deems just.

                                              COUNT II

        1.      Deere & Company restates its answers to Paragraphs 1-18 of the General

Allegations and Paragraphs 2-4 of Count I of this Petition as its answer to Paragraph 1 of Count II

of this Petition.

        2-3.    To the extent that Paragraphs 2-3 contain allegations against Deere & Company,

Deere & Company denies all allegations as they relate to Deere & Company, and further states

that any duty owed to Plaintiffs is a conclusion of law and therefore no response is required. To

the extent that Paragraphs 2-3 contain allegations against entities other than Deere & Company,



                                              Page 4 of 15
                                             2222-CC00226
                                                                                                         Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 5 of 15 PageID #: 1938




Deere & Company is without sufficient knowledge and information to form a belief as to the truth

of those allegations set forth against those entities.

        4.       Deere & Company denies that Plaintiff David Butler’s disease was caused by any

alleged action or inaction of Deere & Company. Deere & Company is without sufficient

knowledge or information to form a belief as to the remaining allegations set forth in Paragraph 4.

        5.       Any characterization of Deere & Company’s alleged conduct as willful and wanton

is a conclusion of law and therefore no response is required. To the extent that Paragraph 5 contains

allegations against entities other than Deere & Company, Deere & Company is without sufficient

knowledge or information to form a belief as to the truth of the allegations set forth against those

entities.

        WHEREFORE, Defendant Deere & Company denies that Plaintiffs are entitled to the

relief requested, or any relief at all, and further requests that Plaintiffs’ claims be dismissed with

prejudice and any other relief this Honorable Court deems just.

                                             COUNT III

        1.       Deere & Company restates its answers to Paragraphs 1-18 of the General

Allegations and Paragraphs 2-4 of Count I of this Petition as its answer to Paragraph 1 of Count

III of this Petition.

        2-3.     To the extent that Paragraphs 2 through 3 contain allegations against entities other

than Deere & Company, Deere & Company is without sufficient knowledge or information to form

a belief as to the truth of the allegations set forth against those entities. To the extent that

Paragraphs 2 through 3 contain allegations against Deere & Company, Deere & Company denies

each and every allegation as they relate to Deere & Company.

        4.       Deere & Company denies that Plaintiff David Butler’s disease was caused by any

alleged action or inaction of Deere & Company. Deere & Company is without sufficient
                                             Page 5 of 15
                                            2222-CC00226
                                                                                                          Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 6 of 15 PageID #: 1939




knowledge or information to form a belief as to the truth of the remaining allegations set forth in

Paragraph 4.

        WHEREFORE, Defendant Deere & Company denies that Plaintiffs are entitled to the

relief requested, or any relief at all, and further requests that Plaintiffs’ claims be dismissed with

prejudice and any other relief this Honorable Court deems just.

                                              COUNT IV

        1.      Deere & Company restates its answers to the General Allegations and Counts I-III

of this Petition as its answer to Paragraph 1 of Count IV of this Petition.

        2.      Deere & Company denies that Petitioner’s spouse’s disease was caused by any

alleged action or inaction of Deere & Company, and further states that any characterization of

Deere & Company’s alleged conduct as negligent is a conclusion of law and therefore no response

is required. To the extent that Paragraph 2 contains allegations against entities other than Deere &

Company, Deere & Company is without sufficient knowledge or information to form a belief as

to the truth of the allegations set forth against those entities.

        WHEREFORE, Defendant Deere & Company denies that Plaintiff Kathy Butler is

entitled to the relief requested, or any relief at all, and further requests that Plaintiff’s claims be

dismissed with prejudice and any other relief this Honorable Court deems just.

                                              COUNT V

        1.      Deere & Company restates its answers to the General Allegations and Counts I-III

of this Petition as its answer to Paragraph 1 of Count V of this Petition.

        2-3.    Deere & Company denies that Petitioner’s spouse’s disease was caused by any

alleged action or inaction of Deere & Company, and further states that any characterization of

Deere & Company’s alleged conduct as negligent is a conclusion of law and therefore no response

is required. To the extent that Paragraphs 2-3 contain allegations against entities other than Deere
                                              Page 6 of 15
                                             2222-CC00226
                                                                                                          Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 7 of 15 PageID #: 1940




& Company, Deere & Company is without sufficient knowledge or information to form a belief

as to the truth of the allegations set forth against those entities.

        WHEREFORE, Defendant Deere & Company denies that Plaintiff Kathy Butler is

entitled to the relief requested, or any relief at all, and further requests that Plaintiff’s claims be

dismissed with prejudice and any other relief this Honorable Court deems just.

                                                COUNT VI

        1.      Deere & Company restates its answers to the General Allegations of this Petition

as its answer to Paragraph 1 of Count VI of this Petition.

        2.      Deere & Company is without sufficient knowledge or information to form a belief

as to the truth of the allegations set forth in Paragraph 2.

        3.      To the extent that Paragraph 3 contains allegations against entities other than Deere

& Company, Deere & Company is without sufficient knowledge or information to form a belief

as to the truth of the allegations set forth against those entities. To the extent that Paragraph 3

contains allegations against Deere & Company, Deere & Company denies each and every

allegation as they relate to Deere & Company.

        4.      Deere & Company denies the allegations set forth in Paragraph 4, and further states

that a duty owed to Plaintiffs is a conclusion of law and therefore no response is required. To the

extent that Paragraph 4 contains allegations against entities other than Deere & Company, Deere

& Company is without sufficient knowledge or information to form a belief as to the truth of the

allegations set forth against those entities.

        5.      To the extent that Paragraph 5 contains allegations against entities other than Deere

& Company, Deere & Company is without sufficient knowledge or information to form a belief

as to the truth of the allegations set forth against those entities. To the extent that Paragraph 5



                                              Page 7 of 15
                                             2222-CC00226
                                                                                                         Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 8 of 15 PageID #: 1941




contains allegations against Deere & Company, Deere & Company denies each and every

allegation as they relate to Deere & Company.

        6.      Deere & Company denies the allegations set forth in Paragraph 6, and further states

that a duty owed to Plaintiffs is a conclusion of law and an improper allegation therefore no

response is required. To the extent that Paragraph 6 contains allegations against entities other than

Deere & Company, Deere & Company is without sufficient knowledge or information to form a

belief as to the truth of the allegations set forth against those entities.

        7.      To the extent that Paragraph 7 contains allegations against entities other than Deere

& Company, Deere & Company is without sufficient knowledge or information to form a belief

as to the truth of the allegations set forth against those entities. To the extent that Paragraph 7

contains allegations against Deere & Company, Deere & Company denies each and every

allegation as they relate to Deere & Company.

        WHEREFORE, Defendant Deere & Company denies that Plaintiffs are entitled to the

relief requested, or any relief at all, and further requests that Plaintiffs’ claims be dismissed with

prejudice and any other relief this Honorable Court deems just.

                                             COUNT VII

        1.      Deere & Company restates its answers to the General Allegations and Paragraphs

2 through 5 of Count VI of this Petition as its answer to Paragraph 1 of Count VII of this Petition.

        2.      Deere & Company denies the allegations set forth in Paragraph 2, and further

states that a duty owed to Plaintiffs is a conclusion of law and an improper allegation therefore

no response is required. To the extent that Paragraph 2 contains allegations against entities other

than Deere & Company, Deere & Company is without sufficient knowledge or information to

form a belief as to the truth of the allegations set forth against those entities.



                                              Page 8 of 15
                                             2222-CC00226
                                                                                                         Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 9 of 15 PageID #: 1942




        3.      Deere & Company denies the allegations set forth in Paragraph 3, and further states

that the characterization of Deere & Company’s alleged actions as intentional or reckless is a

conclusion of law and an improper allegation therefore no response is required. To the extent that

Paragraph 3 contains allegations against entities other than Deere & Company, Deere & Company

is without sufficient knowledge or information to form a belief as to the truth of the allegations set

forth against those entities.

                           AFFIRMATIVE AND OTHER DEFENSES

        This Defendant asserts the following affirmative and other defenses, in response to

Plaintiffs’ Petition:

                                         FIRST DEFENSE

        There is an insufficiency of service of process upon the person of the Defendant.

                                        SECOND DEFENSE

        There is a lack of service of process upon the person of the Defendant.

                                         THIRD DEFENSE

        Plaintiffs’ Petition fails to state a claim against this Defendant upon which relief may be

granted.

                                       FOURTH DEFENSE

        Plaintiffs’ cause of action, and each of them, are barred by the applicable Statute of

Limitations.

                                         FIFTH DEFENSE

        Plaintiffs’ cause of action is barred by the applicable Statutes of Repose.

                                         SIXTH DEFENSE

        Plaintiffs’ Petition is barred by laches.



                                             Page 9 of 15
                                            2222-CC00226
                                                                                                          Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 10 of 15 PageID #: 1943




                                      SEVENTH DEFENSE

       The conduct of the Plaintiffs is the sole proximate cause or a proximate contributing cause

of the injuries and damages Plaintiffs complain of. By reason of the aforesaid, Plaintiffs’ recovery,

if any, should be limited.

                                       EIGHTH DEFENSE

       The sole proximate cause of Plaintiffs’ alleged injuries and damages was the conduct,

actions, failure to act, or exposure to the products of, or intervening acts of, persons and entities

other than this defendant. This Defendant asserts its right to introduce evidence consistent with its

sole proximate cause defense.

                                        NINTH DEFENSE

       If Plaintiffs suffered damages as a result of the allegations set forth in Plaintiffs’ Petition,

then those damages were not sustained by reason of the conduct of this Defendant, but rather were

the result of intervening or superseding acts or omissions of others.

                                       TENTH DEFENSE

       Plaintiffs’ alleged injuries and damages, if any, were negligently caused in whole or in part

by persons, firms, corporations, or entities other than those parties before this Court and such

negligence either bars or comparatively reduces any possible recovery by Plaintiffs.

                                     ELEVENTH DEFENSE

       Plaintiff David Butler was not exposed to any asbestos material through any act or omission

of this Defendant, or if such exposure occurred, which is denied, such exposure was of such

insufficient quantities, at such infrequent intervals, for such short periods of time, or under such

conditions as to amount to no proximate cause of Plaintiffs’ damages, if any, as a matter of law.

Therefore, this Defendant denies that any of its products or any alleged action or inaction on its

part has damaged or injured Plaintiffs in any manner or at any time.
                                            Page 10 of 15
                                           2222-CC00226
                                                                                                        Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 11 of 15 PageID #: 1944




                                     TWELFTH DEFENSE

        The claims raised in Plaintiffs’ Petition are barred by the applicable workers’ compensation

laws.

                                   THIRTEENTH DEFENSE

        If Plaintiffs suffered damages as a proximate result of any condition of the product sold by

this Defendant, which this Defendant denies, then any such products would have been supplied to

the employer of Plaintiffs, which employer was knowledgeable and a sophisticated user of said

products with adequate warnings or instructions, or with the knowledge of such information

contained in said warnings, and thus this Defendant had no further legal duty to warn or instruct

Plaintiffs.

                                   FOURTEENTH DEFENSE

        The state of the medical and scientific knowledge and the published literature and other

materials reflecting said state of the medical art at all times pertinent hereto was such that this

Defendant neither knew or could have known that its products presented a foreseeable risk of harm,

if any, to Plaintiffs in the normal and expected use of these products according to the law in full

force and effect at the time of the transactions complained of. The methods, standards and

techniques of designing, manufacturing or selling any asbestos-containing products sold or

designed by this Defendant, if any, were performed in conformity with the generally recognized

state of the art existing at the time such products were designed and/or sold, if any, by this

Defendant and placed in the stream of commerce.

                                    FIFTEENTH DEFENSE

        If Plaintiffs sustained injuries and damages as a result of Plaintiff David Butler’s exposure

to any products sold by this Defendant, as alleged in Plaintiffs’ Petition, which this Defendant



                                            Page 11 of 15
                                           2222-CC00226
                                                                                                         Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 12 of 15 PageID #: 1945




denies, the amount of any such exposure and any attributable to Plaintiffs’ alleged injuries and

damages, were and are negligible in degree and amount and hence, de minimis.

                                     SIXTEENTH DEFENSE

       Plaintiff David Butler appreciated and understood risks associated with the use of this

Defendant’s products, if any, which this Defendant denies. In the face of Plaintiff David Butler’s

knowledge, Plaintiff continued to use the products in such a manner as to continue to expose

him/herself to any risks. As a result of Plaintiff David Butler’s own assumption of risk, Plaintiffs’

recovery, if any, should be limited to or barred.

                                   SEVENTEENTH DEFENSE

       This Defendant denies that Plaintiffs have incurred any damages. However, as to any

injuries or damages Plaintiffs are alleged to have incurred, Plaintiff David Butler failed to exercise

ordinary care for his/her own safety, and such failure on Plaintiff’s part proximately caused any

injuries or damages alleged in Plaintiffs’ Petition.

                                    EIGHTEENTH DEFENSE

       Plaintiffs lacked privity or otherwise had no relationship with this Defendant sufficient to

impose a duty on this Defendant.

                                    NINETEENTH DEFENSE

       There is a lack of joinder of one or more parties who should or must be joined and, without

joinder of these proper parties, complete relief cannot be accorded among those already attempted

to be made parties to this civil action.

                                     TWENTIETH DEFENSE

       To the extent that Plaintiffs have received payment from any alleged joint tortfeasor in full

satisfaction of any of the alleged injuries and/or claims against this Defendant and/or other alleged



                                            Page 12 of 15
                                           2222-CC00226
                                                                                                         Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 13 of 15 PageID #: 1946




joint tortfeasors, Plaintiffs’ Petition in each and every count and cause of action alleged therein is

barred by the defenses of payment and accord and satisfaction.

                                  TWENTY-FIRST DEFENSE

       Plaintiff David Butler misused the products of this Defendant.

                                 TWENTY-SECOND DEFENSE

       Plaintiffs failed to mitigate Plaintiffs’ damages, if any.

                                  TWENTY-THIRD DEFENSE

       If Plaintiffs have heretofore or should hereafter settle for any of the alleged injuries and

damages with any parties, or non-parties, such as any 524 (g) Trusts, then this Defendant is entitled

to a credit in the amount of said settlement.

                                TWENTY-FOURTH DEFENSE

       Any Defendant whose fault is determined by the trier of fact to be less than 25% of the

total fault attributable to Plaintiffs, the Defendants, and any third-party Defendants who could have

been sued by Plaintiffs, shall only be severally and not jointly liable.

       If Plaintiffs sustained injuries and damages as a result of Plaintiff David Butler’s exposures

to any product manufactured by this Defendant, as Plaintiffs have alleged in Plaintiffs’ Petition,

and which this Defendant continues to deny, the amount of fault attributable to this Defendant is

less than 25% of the total fault, thus Defendant is only severally liable.

                                  TWENTY-FIFTH DEFENSE

       Plaintiffs’ Petition fails to set forth a claim for punitive damages upon which relief may be

granted.

                                  TWENTY-SIXTH DEFENSE

       Plaintiffs’ claim for punitive damages is barred by the due process clause of the Fourteenth

Amendment to the United States Constitution.
                                            Page 13 of 15
                                           2222-CC00226
                                                                                                           Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 14 of 15 PageID #: 1947




                                  TWENTY-SEVENTH DEFENSE

          Plaintiffs’ claim for punitive damages is barred by the proscription of the Eighth

Amendment to the United States Constitution prohibiting the imposition of excessive fines, as

applied to the states through the Fourteenth Amendment.

                                   TWENTY-EIGHTH DEFENSE

          Plaintiffs’ claim for punitive damages is barred by the “double jeopardy” clause of the Fifth

Amendment to the United States Constitution, as applied to the states through the Fourteenth

Amendment.

                                    TWENTY-NINTH DEFENSE

          This Court lacks jurisdiction over the subject matter of Plaintiffs’ Petition.

                                       THIRTIETH DEFENSE

          Venue is improper in the Court and this action should be dismissed based on forum non

conveniens.

                                     THIRTY-FIRST DEFENSE

          This Defendant reserves the right to amend its Answer, if same becomes appropriate, after

full investigation and discovery.

                                   THIRTY-SECOND DEFENSE

          Defendant adopts and asserts any defenses raised or asserted by other defendants to this

action.

                                     THIRTY-FIFTH DEFENSE

          To the extent that Plaintiff David Butler’s alleged exposure to Defendant’s products

occurred within the territory of a state, nation, or jurisdiction other than Missouri, or to the extent

that other grounds exist for the application of law of a jurisdiction other than Missouri to Plaintiffs’

claims against Defendant, Defendant reserves the right to argue that Plaintiffs’ claims against
                                              Page 14 of 15
                                             2222-CC00226
                                                                                                    Electronically Filed - City of St. Louis - July 27, 2022 - 12:03 PM
Case: 4:22-cv-00963-HEA Doc. #: 21 Filed: 09/14/22 Page: 15 of 15 PageID #: 1948




Defendant should be governed by the laws of such other jurisdiction, including but not limited to

statute(s) of limitations, statute(s) of repose, causation standards, exposure standards, product

identification standards, and limitations on the types and/or amount of recoverable damages.

       DEERE & COMPANY DEMANDS TRIAL BY A JURY OF TWELVE PERSONS.


                                              Respectfully submitted,

                                              /s/ Matthew J. Fischer
                                              Matthew J. Fischer (Missouri Bar No. 67551)
                                              mfishcher@rshc-law.com



RILEY SAFER HOLMES & CANCILA LLP
70 W. Madison Street, Suite 2900
Chicago, Illinois 60602
(312) 471-8700
(312) 471-8701 (fax)




                                          Page 15 of 15
                                         2222-CC00226
